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                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF LOUISIANA



    In re:                                 )               Case No. 17-bk-11213
                                           )               Chapter 11
    FIRST NBC BANK HOLDING COMPANY, )                      Judge Elizabeth W. Magner
                                           )               Section A
             Debtor.                       )
    _______________________________________)


                 UNITED STATES’ LIMITED OBJECTION TO CONFIRMATION

             The United States of America, on behalf of its agency the Internal Revenue Service,

   respectfully objects to confirmation of the Second Amended Joint Chapter 11 Plan of

   Reorganization for First NBC Bank Holding Company (the “Plan”) (Dkt. No. 621) to the extent

   that anything in the Plan, any order confirming the Plan (the “Confirmation Order”), and the

   Second Amended Disclosure Statement Relating to Amended Joint Chapter 11 Plan of

   Reorganization for First NBC Bank Holding Company (the “Disclosure Statement”) (Dkt. No.

   622) purport to: (1) determine the income tax liability of the Debtor or any other taxpayer for any

   tax year ending after the date of confirmation of the Plan (“Future Income Tax Liabilities”); or

   (2) constitute factual findings or legal conclusions that would be binding on the United States

   and the Internal Revenue Service in any future dispute over the Future Income Tax Liabilities.

   The Court lacks jurisdiction to make any such determinations of liability or binding factual

   findings or legal conclusions. The Court thus should not enter a Confirmation Order unless it

   expressly declines to make any such determinations, findings, or conclusions.




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                                           BACKGROUND

          The Debtor’s Plan intends to use the Debtor’s “Tax Assets,” notably net operating loss

   carryforwards and tax credits, to offset future income taxes owed by the Reorganized Debtor. As

   the Disclosure Statement explains:

          [T]he Debtor estimates that, as of the Effective Date, its net operating losses will
          total $365 million in net operating losses. The Debtor would be entitled under the
          Plan to use its existing net operating loss carryforwards in future years to eliminate
          taxes on a corresponding amount of its income, subject to any applicable limitations
          resulting from change in ownership and/or other limitations imposed under
          applicable tax laws.

   (Dkt. No. 622 at 45.) Whether the Reorganized Debtor will actually be able to use the

   carryforwards depends on events that occur after confirmation. See, e.g., I.R.C. §§ 381-384

   (imposing limitations on use of net operating loss carryovers in context of corporate

   acquisitions). It also depends on whether a future acquisition of or by the Reorganized Debtor

   has as “the principal purpose . . . evasion or avoidance of Federal income tax by securing the

   benefit of a deduction, credit, or other allowance” that otherwise would not be enjoyed. I.R.C.

   § 269(a). Although 11 U.S.C. § 1129(d) prevents confirmation of a plan upon a governmental

   unit showing that the principal purpose of a Chapter 11 plan is tax avoidance, a bankruptcy

   court’s findings under § 1129(d) are not conclusive in a later tax proceeding. See Treas. Reg.

   § 1.269-3(e).

          For avoidance of doubt, the United States, on behalf of the Internal Revenue Service,

   asked the Debtor to stipulate that issues touching on the Future Income Tax Liabilities will be

   decided later, in a court of competent jurisdiction with all the facts before it—thereby removing a

   potential impediment to confirmation of the plan. The Debtor declined.

          Instead, the Debtor appears to want the Court to make factual findings and legal

   conclusions that would be binding on the Internal Revenue Service in future litigation over the

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   Future Income Tax Liabilities. Perhaps it seeks findings regarding the validity of its Tax Assets

   or whether they will be allowable against future income, or perhaps it seeks a determination

   under § 1129(d) that would bind the IRS in future litigation over whether the Plan’s principal

   purpose is tax avoidance under I.R.C. § 269.

           Regardless of what the Debtor’s specific motive is, though, this Court lacks jurisdiction

   not only to determine the Future Tax Liabilities, but also to issue any rulings on antecedent

   factual and legal issues that would be binding on the IRS in subsequent litigation over the Future

   Tax Liabilities. Thus, to the extent the Debtor seeks such relief, the Court should decline to

   grant it.

                                               ARGUMENT

           A bankruptcy court’s jurisdiction over tax disputes is limited by both the Bankruptcy

   Code and Title 28.

           The Declaratory Judgment Act provides that:

           In a case of actual controversy within its jurisdiction, except with respect to Federal
           taxes other than actions brought under section 7428 of the Internal Revenue Code
           of 1986, a proceeding under section 505 or 1146 of title 11, ... any court of the
           United States, upon the filing of an appropriate pleading, may declare the rights and
           other legal relations of any interested party seeking such declaration, whether or
           not further relief is or could be sought....

   28 U.S.C. § 2201(a). The Court’s jurisdiction thus is subject to two initial limitations: (1) there

   must be an actual controversy over a tax-related issue; and (2) the relief sought must come

   within the scope of § 505. In re UAL Corp., 336 B.R. 370, 372-374 (Bank. N.D. Ill. 2006). The

   portion of § 505 relevant to this case permits a bankruptcy court to “determine the amount or

   legality of any tax.” 11 U.S.C. § 505(a).

           Despite its seemingly broad language, courts have substantially narrowed the scope of

   § 505(a) to make it consistent with the Declaratory Judgment Act and the jurisdictional


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   provisions of Title 28 specific to bankruptcy courts. First, a bankruptcy court may only

   determine ultimate tax liabilities, not issues antecedent to the determination of a tax liability. In

   re Grand Chevrolet, Inc., 153 B.R. 296, 300 (C.D. Cal. 1993) (“Pursuant to section 505, a

   bankruptcy court has the jurisdiction only to determine tax liabilities; there is no grant of

   jurisdiction to decide issues that are antecedent to the determination of tax liability.”); In re

   Dycoal, Inc., 327 B.R. 220, 227 (Bank. W.D. Pa. 2005) (“the Court, when ruling under

   § 505(a)(1), is, as a matter of law, confined to only ruling upon existent tax liabilities of a debtor,

   that is the Court cannot, pursuant to § 505(a)(1), make determinations regarding tax issues that

   merely impact upon a future tax liability of a debtor.”); In re Inter Urban Broadcasting of

   Cincinnati, Inc., 180 B.R. 153, 155 (Bank. E.D. La. 1995). The Court thus cannot issue rulings

   on matters antecedent to the Debtor’s Future Tax Liabilities, such as the amount and validity of

   the Tax Assets, whether they will be allowable against the Debtor’s future income, or whether

   this reorganization’s principal purpose is tax avoidance under I.R.C. § 269.

          Second, consistent with the actual controversy requirement of the DJA, a bankruptcy

   court at this stage in a case may only determine existing, pre-confirmation tax liabilities, not

   liabilities that may arise in future, post-confirmation years. 1 UAL, 336 B.R. at 380; Dycoal¸ at

   228; In re Hartman Material Handling Systems, Inc., 141 B.R. 802, 812-814 (Bank. S.D.N.Y.

   1992) (“[I]t would be improper for this Court to determine in advance the post-confirmation

   NOL tax rights of a former debtor who has not yet attempted to use its NOLs.”) (also finding that




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     The language of § 1141(a) also limits the ability of a plan to determine future tax disputes.
   Holywell Corp. v. Smith, 503 U.S. 47, 58 (1992) (“Even if § 1141(a) binds creditors of the
   corporate and individual debtors with respect to claims that arose before confirmation, we do not
   see how it can bind the United States or any other creditor with respect to postconfirmation
   claims.”).


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   a confirmation order’s finding that a plan’s principal purpose was not tax avoidance under

   § 1129(d) would not have res judicata or collateral estoppel effect in future litigation under

   I.R.C. § 269). Indeed, several courts have held that a bankruptcy court never has jurisdiction to

   determine post-confirmation federal tax liabilities. In re Holly’s Inc., 172 B.R. 545, 562 (Bank.

   W.D. Mich. 1994) (“A bankruptcy court does not have subject matter jurisdiction to resolve

   postconfirmation tax liabilities.”) (citing In re Maley, 152 B.R. 789, 792 (Bank. W.D.N.Y. 1992)

   and Hartman Material Handling Systems, 141 B.R. at 812-813). Additionally, jurisdiction is

   lacking even if the inability to receive declaratory judgment about the future tax consequences of

   a plan creates uncertainty or other difficulties for the debtor. See UAL, at 379, Hartman

   Material, at 813-814; In re Antonelli, No. 91–4–0254, 1992 WL 435879, *3 (Bank. D. Md. Nov.

   6, 1992). The Court thus cannot rule at this time on the Debtor’s Future Income Tax Liabilities,

   nor can it do so later when those liabilities arise post-confirmation.

           Third, a bankruptcy court may only determine the liability of a debtor, not any non-

   debtors. In re Prescription Home Health Care, Inc., 316 F.3d 542, 547 (5th Cir. 2002) (“While

   this provision speaks of ‘any tax’, it grants jurisdiction to determine the tax liabilities of the

   debtor and the estate, not those of third parties.”). This Court thus cannot determine the Future

   Tax Liabilities of any taxpayer other than the Debtor, such as any entity it might merge with,

   acquire, or be acquired by, nor can it issue any rulings on matters antecedent to the Future Tax

   Liabilities of any non-debtors.2




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     For this reason, the United States also objects to any provision of the Plan that purports to allow
   the Court to retain post-confirmation jurisdiction to determine the Future Tax Liabilities.
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                                             CONCLUSION

          Given its limited subject matter jurisdiction, this Court must refrain from entering a

   Confirmation Order that directly, or through incorporation of language in the Plan and

   Disclosure Statement, determines any Future Tax Liabilities of the Debtor or any other taxpayer,

   or makes findings of fact or conclusions of law on issues antecedent to any such Future Tax

   Liabilities. Since the IRS has not (and cannot) make any assessments of Future Tax Liabilities,

   no case or actual controversy exists under the Declaratory Judgment Act. Moreover, § 505 does

   not grant this Court subject matter jurisdiction over tax liabilities that have not yet accrued or

   issues antecedent to the amount or legality of tax liabilities that may or may not arise in the

   future. Thus, if the Court does decide to confirm the Plan, the Confirmation Order should make

   clear that neither it, the Plan, nor the Disclosure Statement contain any determinations of Future

   Tax Liabilities or other rulings on matters antecedent to the determination Future Tax Liabilities

   that would be binding on the IRS in future litigation.

   Date: August 2, 2019                                   Respectfully submitted,

                                                          RICHARD E. ZUCKERMAN
                                                          Principal Deputy Assistant Attorney General

                                                          /s/ Ward W. Benson
                                                          WARD W. BENSON
                                                          Trial Attorney, Tax Division
                                                          U.S. Department of Justice
                                                          P.O. Box 227, Ben Franklin Station
                                                          Washington, DC 20044 (mailing address)
                                                          555 4th St NW, Rm. 6118
                                                          Washington, DC 20001 (street address)
                                                          Tel: (202) 514-9642
                                                          Fax: (202) 514-6866
                                                          Email: ward.w.benson@usdoj.gov
                                                          (N.Y. Bar No. 4939278)
                                                          Counsel for the United States of America
                                                          on behalf of the Internal Revenue Service



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                                      CERTIFICATE OF SERVICE

          I hereby certify that on August 2, 2019, I electronically filed the foregoing LIMITED

   OBJECTION with the Clerk of Court using the CM/ECF system, which will send notification of

   such filing to all parties appearing in said system.


                                                          /s/ Ward W. Benson
                                                          WARD W. BENSON
                                                          Trial Attorney
                                                          United States Dept. of Justice




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